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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


 DONALD SEOANE; A.L.S.; A.J.S.;
 and S.F.S.,

       Plaintiffs,

       v.
                                          Case No. 6:23-cv-1906-WWB-RMN
 HOLLY MARIE NEWMAN
 DERENTHAL; CHRISTY CHANEL
 COLLINS; and LISA TAYLOR
 MUNYON,

       Defendants.


                     REPORT AND RECOMMENDATION

      Donald Seoane, appearing pro se, has filed a civil complaint against

Judge Holly Marie Newman Derenthal, Judge Christy Chanel Collins, and

Chief Judge Lisa Taylor Munyon of the Ninth Judicial Circuit Court of Florida,

along with Governor Ron DeSantis, Attorney General Ashely Moody, and

twenty-one other individuals. (Dkt. 1). Mr. Seoane has also filed a Motion to

Proceed in forma pauperis (“IFP Motion”). (Dkt. 2). Considering the standards

the Court must apply and the allegations in the Complaint, I respectfully

recommend denying the IFP Motion and dismissing the Complaint with leave

to file an amended complaint.
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                         I. LEGAL STANDARDS

        While reviewing the allegations in the Complaint and the IFP Motion,

the Court must consider the standards below.

   A.     Subject Matter Jurisdiction Standards

        Federal courts have an independent duty to determine whether subject

matter jurisdiction exists. Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006). A

federal court may have jurisdiction under a specific statutory grant, federal

question jurisdiction under 28 U.S.C. § 1331, or diversity jurisdiction under 28

U.S.C. § 1332(a). Baltin v. Alaron Trading Corp., 128 F.3d 1466, 1469 (11th

Cir. 1997). Federal question jurisdiction under 28 U.S.C. § 1331 “aris[es] under

the Constitution, laws, or treaties of the United States.” Federal jurisdiction

pursuant to 28 U.S.C. § 1332 exists only when there is complete diversity

between the plaintiffs and defendants. Owen Equip. & Recreation Co. v.

Kroger, 437 U.S. 365, 373 (1978). To achieve “complete diversity,” no plaintiff

may be a citizen of the same state as any defendant. Id.

        “The burden of pleading diversity of citizenship is upon the party

invoking federal jurisdiction, and if jurisdiction is properly challenged, that

party also bears the burden of proof.” Ray v. Bird & Son & Asset Realization

Co., 519 F.2d 1081, 1082 (5th Cir. 1975). If the Court determines it lacks

jurisdiction, it must dismiss the action, Fed. R. Civ. P. 12(h)(3), without




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prejudice. Stalley ex rel. United States v. Orlando Reg’l Healthcare Sys., Inc.,

524 F.3d 1229, 1232 (11th Cir. 2008).

   B.      Pleading Standards

        A complaint must state a claim for relief that includes (1) “a short and

plain statement of the grounds for the court’s jurisdiction,” (2) “a short and

plain statement of the claim showing that the pleader is entitled to relief,” and

(3) “a demand for the relief sought[.]” Fed. R. Civ. P. 8(a). Each allegation must

be “simple, concise, and direct.” Fed. R. Civ. P. 8(d)(1).

        A complaint must allege facts, accepted as true, that state a claim “that

is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). This

standard asks for less than a probability but “more than a sheer possibility

that a defendant has acted unlawfully.” Id. “Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not

suffice.” Id.

        Complaints that fail to comply with procedural rules “are often

disparagingly referred to as ‘shotgun pleadings.’” Weiland v. Palm Beach Cnty.

Sheriff’s Off., 792 F.3d 1313, 1320 (11th Cir. 2015). Examples of shotgun

pleadings include a complaint “replete with conclusory, vague, and immaterial

facts not obviously connected to any particular cause of action” and a complaint

with “multiple claims against multiple defendants without specifying which of

the defendants are responsible for which acts or omissions, or which of the


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defendants the claim is brought against.” Barmapov v. Amuial, 986 F.3d 1321,

1324–25 (11th Cir. 2021) (alteration in original). When faced with a shotgun

pleading, dismissal may be appropriate. Weiland, 792 F.3d at 1320.

   C.      Liberal Construction Standards

        A court must construe a pleading drafted by a pro se litigant liberally

and hold the pleading to a less stringent standard than one drafted by a lawyer.

Tannenbaum v. United States, 148 F.3d 1262, 1263 (11th Cir. 1998). Liberal

construction does not mean forgiving noncompliance with procedural rules.

McNeil v. United States, 508 U.S. 106, 113 (1993).

   D.      In Forma Pauperis Standards

        A court may authorize a plaintiff to initiate a lawsuit without prepaying

fees. 28 U.S.C. § 1915(a)(1). While a litigant need not show he is “absolutely

destitute,” he must show an inability “to pay for the court fees and costs, and

to support and provide necessities for himself and his dependents.” Martinez

v. Kristi Kleaners, Inc., 364 F.3d 1305, 1307 (11th Cir. 2004).

        That said, the United States Supreme Court has observed that “a litigant

whose filing fees and court costs are assumed by the public . . . lacks an

economic incentive to refrain from filing frivolous, malicious, or repetitive

lawsuits.” Neitzke v. Williams, 490 U.S. 319, 324 (1989). Thus, before a plaintiff

may proceed in forma pauperis, a court must review the complaint to

determine whether it is “frivolous or malicious,” “fails to state a claim upon


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which relief may be granted,” or “seeks monetary relief against a defendant

who is immune from such relief.” 28 U.S.C. § 1915(e)(2). If the complaint is

deficient, the court is required to dismiss the lawsuit. Neitzke, 490 U.S. at 324.

                               II. ANALYSIS

      The resolution of Plaintiff’s IFP Motion turns on the adequacy of the

Complaint. The Complaint begins with an introduction and lists a number of

claims as: (1) Due Process (Fifth and Fourteenth Amendments); (2) Equal

Protection (Fourteenth Amendment); (3) First Amendment (Free Speech); (4)

Sixth Amendment (Right to a Fair Trial); (5) Seventh Amendment (Right to a

Jury Trial); (6) Fourth Amendment (Protection Against Unreasonable

Searches and Seizures); (7) Eighth Amendment (Protection Against Cruel and

Unusual Punishment); (8) Fifth Amendment (Protection Against Self-

Incrimination); (9) Felony Conspiracy; (10) Felony Perjury; (11) Felony Fraud;

(12) Organized Fraud; (13) Violating Oath of Office; (14) Treason; (15) False

Reports to DCF; (16) Failure to Report Child Abuse to DCF; (17) Failure to

Report Sexual Battery; (18) Failure to Report a Case of Known or Suspected

Abuse, Neglect or Exploitation of a Vulnerable Adult or Preventing Someone

Else from Doing So; (19) Civil Rights Conspiracy Under; (20) Complaint for

Intentional Infliction of Emotional Distress; and (21) Complaint for Abuse of

Process. Dkt. 1 at 5–10.




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        Then the Complaint goes on to list several alleged causes of actions as:

(1) Declaratory Relief; (2) Breach of Contract – Contractual Obligation – Legal

Obligation and Legal Duty; (3) 42 U.S.C. § 1983 Violation of Substantial Due

Process State Created Danger Under DeShaney; (4) Violation of First and

Fourteenth Amendment Right to a Proper Remedy, Redress and Relief –

Violation of Fourteenth Amendment Protection of Laws; (5) 42 U.S.C. § 1983

Conspiracy; (6) Intentional Infliction of Emotional Distress; and (7) 42 U.S.C.

§ 1988 Attorney Fees. Dkt. 1 at 101–50.

        Not only are some of the claims and causes of action improper, but the

Complaint fails to comply with the procedural rules and thus, is an

impermissible shotgun pleading. 1

   A.      The complaint is a shotgun pleading.

        Even construing the Complaint liberally to account for Plaintiff’s pro se

status, the Court cannot decipher the grounds upon which Plaintiff wishes to

specifically sue each of the twenty-six named Defendants. The first 100 pages

of the Complaint contain introductions, claims, information on jurisdiction and

the parties, facts, various legal doctrines, general allegations, and factual

allegations. Dkt. 1 at 1–100. Then the seven causes of actions are listed (Dkt.




1 Because this Report recommends dismissing the Complaint due to shotgun

pleading standards, it does not reach the ultimate issue of whether the
Complaint states a claim for relief for each cause of action.

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1 at 101–50) before alleged reasons why Defendants are not able to assert

various types of immunity (id. at 151–53). The Complaint appears to end at

page 157 and then there are 651 pages of additional documents, including state

court documents, pictures, screenshots of text messages, and email

correspondence (id. at 158–808).

      The Eleventh Circuit has repeatedly condemned shotgun pleadings. In

fact, the Eleventh Circuit has acknowledged it “thirty-year salvo of criticism

aimed at shotgun pleadings” and identified four categories. See Weiland v.

Palm Beach Cnty. Sheriff’s Off., 792 F.3d 1313, 1321–23 (11th Cir. 2015).

Plaintiff’s Complaint fits squarely into at least three of the categories identified

as it is “replete with conclusory, vague, and immaterial facts not obviously

connected to any particular cause of action”; it is “one that commits the sin of

not separating into a different count each cause of action or claim for relief”;

and it “assert[s] multiple claims against multiple defendants without

specifying which of the defendants are responsible for which acts or omissions,

or which of the defendants the claim is brought against.” Id.

      In other words, the Complaint here is rife with immaterial facts not

clearly connected to a particular claim or cause of action. The Complaint fails

to precisely parcel out and identify facts relevant to each of his purported

claims. And the Complaint also fails to separate into different counts the

various claims asserted to each Defendant, depriving the Defendants of


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“adequate notice of the claims” asserted and the grounds supporting each

claim. Id. at 1323. As a result, the Court and Defendants face the onerous and

likely hopeless task of sifting through the Complaint to determine which facts

are relevant to each cause of action. This manner of pleading contravenes the

mandate of the Federal Rule of Civil Procedure 8(a) that pleadings contain

“short and plain” statements “showing that the pleader is entitled to relief” for

the asserted claim. Fed. R. Civ. P. 8(a)(2). Because the Complaint is altogether

unacceptable, the Court should require Plaintiff to replead. See Cramer v.

Florida, 117 F.3d 1258, 1263 (11th Cir. 1997). If Plaintiff chooses to replead,

his amended complaint must clearly identify each claim for relief—and to

which Defendant they apply—and must clearly delineate which factual

allegations are relevant to each claim.

   B.     The complaint does not assert a basis for subject-matter
          jurisdiction.

        Even if the Court were to reach the ultimate issue of whether the

Complaint states a claim for relief for each cause of action, the Complaint does

not appear to contain a basis for this Court’s subject matter jurisdiction. The

Complaint indicates that Plaintiff is trying to bring a 42 U.S.C. § 1983 action

under the Court’s federal question jurisdiction pursuant to 28 U.S.C. § 1331.

Dkt. 1 at 72. But Plaintiff lists ten state court cases in the Circuit Court of the




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Ninth Judicial Circuit in and for Osceola County, Florida that appear to give

rise to the factual basis of his claims. Dkt. 1 at 12–14. 2

      Federal district courts are courts of limited jurisdiction and, even if a

case may fall within that limited scope, they must nonetheless abstain from

hearing a federal case that interferes with pending state proceedings. That

principle is called the Younger abstention doctrine. In a case called Younger v.

Harris, the Supreme Court held that a federal district court must not interfere

with pending criminal state court proceedings except under certain special

circumstances. 3 401 U.S. 37, 53–54 (1971). Although Younger involved a

criminal proceeding, its principles have been interpreted to be “fully applicable

to noncriminal judicial proceedings when important state interests are

involved.” Middlesex Cty. Ethics Comm. v. Garden State Bar Ass'n, 457 U.S.

423, 432 (1982). Such abstention is required by “a proper respect for state

functions” and “the belief that the National Government will fare best if the

States and their institutions are left free to perform their separate functions

in their separate ways.” Younger, 401 U.S. at 53–54. Consequently, under the




2 The state court proceedings can be found by searching the case number at

https://courts.osceolaclerk.com/BenchmarkWeb/Home.aspx/Search.

3 There are no special circumstances in this case that would warrant an
exception to Younger abstention.

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 Younger abstention doctrine, this Court is prohibited from interfering with

 Plaintiff’s claims relating to his pending state court proceedings. 4

       Further, to the extent Plaintiff’s case is challenging state court

 proceedings that have ended, 5 federal district courts lack jurisdiction to review

 final judgments of state courts. Under what is known as the Rooker-Feldman

 doctrine, district courts lack jurisdiction where “the losing party in state court

 file[s] suit in federal court after the state proceedings ended, complaining of an

 injury caused by the state-court judgment and seeking review and rejection of

 that judgment.” Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280,

 291 (2005). In other words, federal courts lack jurisdiction to review final

 judgments of state courts. The doctrine takes its name from two U.S. Supreme

 Court cases in which it was applied, Rooker v. Fidelity Trust Company, 263

 U.S. 413 (1923), and District of Columbia Court of Appeals v. Feldman, 460

 U.S. 462 (1983). In Rooker, the plaintiffs brought suit in federal district court

 seeking to have a state court judgment, which had been affirmed by the state’s

 highest court, “declared null and void” on the grounds that it violated the




 4 Plaintiff references the following ongoing state court proceedings in the
 Complaint that the undersigned was able to locate: (1) 2022-DR-002336; (2)
 2023-CC-003494; (3) 2023-CC-003521; (4) 2023-CC-003523; (5) 2023-CC-
 003856.

 5 Plaintiff references the following closed state court proceeding in the
 Complaint that the undersigned was able to locate: 2022-MM-000984.

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 United States Constitution. 263 U.S. at 414–15. The district court dismissed

 the suit for lack of jurisdiction. Id. at 415. The Supreme Court affirmed,

 explaining that the jurisdiction of federal district courts is strictly original. Id.

 at 416. To allow a district court to “reverse or modify the judgment” of a state

 court would be an exercise of appellate jurisdiction, thus exceeding the powers

 of the district courts. Id. The Supreme Court held that the suit, which was

 “merely an attempt to get rid of the judgment for alleged errors of law

 committed in the exercise of [the state courts’] jurisdiction,” was not within the

 “strictly original” jurisdiction of federal district courts. Id. Therefore, Plaintiff’s

 claims that are seeking to overturn the final judgment of a state court are

 barred by the Rooker-Feldman doctrine. 6

                              III. CONCLUSION

       Accordingly, I respectfully RECOMMEND:

       1.     Plaintiff’s Motion to Proceed in forma pauperis (Dkt. 2) be

 DENIED;

       2.     Plaintiff’s   Complaint     (Dkt. 1)    be   DISMISSED          without

 prejudice; and




 6 The claims are also likely barred by the Anti-Injunction Act, 28 U.S.C. § 2283,

 which prohibits federal courts from enjoining state court proceedings except in
 three narrow circumstances not present here.

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       3.     Plaintiff be granted leave to file an amended complaint that is not

 a shotgun pleading and raises claims that are not barred.

                             NOTICE TO PARTIES

       “Within 14 days after being served with a copy of [a report and

 recommendation], a party may serve and file specific written objections to the

 proposed findings and recommendations.” Fed. R. Civ. P. 72(b)(2). “A party

 may respond to another party’s objections within 14 days after being served

 with a copy.” Id. A party’s failure to serve and file specific objections to the

 proposed findings and recommendations alters review by the district judge and

 the United States Court of Appeals for the Eleventh Circuit, including waiver

 of the right to challenge anything to which no specific objection was made. See

 Fed. R. Civ. P. 72(b)(3); 28 U.S.C. § 636(b)(1)(B); 11th Cir. R. 3-1.

       Entered in Orlando, Florida, on October 27, 2023.




 Copies to:

 Hon. Wendy W. Berger

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